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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES,

                        Plaintiff,

                        v.                             Case No. 1:22-cr-121

 JARED PAUL CANTRELL, et al.,

                        Defendants.


                                             ORDER

       The parties have filed motions in limine in advance of trial. The Court here addresses

three of them. The Court will address any remaining issues at the start of trial.

       The Court GRANTS Defendant’s Motion to Exclude Out-of-Time Evidence. ECF No.

52. At a status conference on April 27, 2022, the Court directed the Government to give

Defendants all Defendant-specific discovery by July 1, 2022. Thus, the Government may not use

any Defendant-specific evidence at trial that it failed to produce by July 1, 2022.

       The Court also GRANTS the Government’s motions regarding surveillance cameras

(ECF No. 53) and Secret-Service witnesses (ECF No. 54). Defendants never opposed these

motions, so they have conceded them.



       Thus, and upon consideration of the motions, it is

       ORDERED that the Defendant’s [52] Motion to Exclude Out-of-Time Evidence is

GRANTED; it is further
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       ORDERED that the Government’s [53] Motion in Limine Regarding Evidence About

the Specific Location of U.S. Capitol Police Surveillance Cameras and [54] Motion in Limine to

Limit Cross-Examination of United States Secret Service Witnesses are GRANTED.

       SO ORDERED.                                                       2023.03.31
                                                                         14:15:54 -04'00'
Dated: March 31, 2023                              TREVOR N. McFADDEN, U.S.D.J.




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